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                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT
                                  100 EAST FIFTH STREET, ROOM 540
   Kelly L. Stephens             POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
         Clerk                       CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                    Filed: February 21, 2024




Ms. Kinikia D. Essix
Eastern District of Michigan at Detroit
231 W. Lafayette Boulevard
Fifth Floor Theodore Levin U.S. Courthouse
Detroit, MI 48226-0000

                       Re: Case No. 21-1786, Timothy King, et al v. Gretchen Whitmer, et al
                           Originating Case No. : 2:20-cv-13134

Dear Ms. Essix,

   Enclosed is a copy of the mandate filed in this case.

                                                    Sincerely yours,

                                                    s/Mackenzie A. Collett
                                                     For Anthony Milton

cc: Mr. David H. Fink
    Mr. Nathan Joshua Fink
    Mr. Erik A. Grill
    Mr. Howard Kleinhendler
    Ms. Heather S. Meingast
    Mr. T. Russell Nobile
    Mr. Paul Joseph Orfanedes
    Ms. Sidney Powell

Enclosure
            Case: 21-1786 Document:
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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                            ________________

                                               No: 21-1786
                                            ________________

                                                                      Filed: February 21, 2024

TIMOTHY KING, et al.

                Plaintiffs

 and

GREGORY J ROHL; BRANDON JOHNSON; HOWARD KLEINHENDLER; SIDNEY
POWELL; JULIA HALLER; SCOTT HAGERSTROM

                Interested Parties - Appellants

v.

GRETCHEN WHITMER; JOCELYN BENSON; CITY OF DETROIT, MI

                Defendants - Appellees



                                              MANDATE

     Pursuant to the court's disposition that was filed 06/23/2023 the mandate for this case hereby

issues today.



 COSTS: None
